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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

MARVA DOCKERY, as Administratrix of the                                                   Plaintiff,
Estate of Mildred Marshall,

v.                                                              Civil Action No. 3:16-cv-25-DJH

GGNSC LOUISVILLE HILLCREEK, LLC,
et al.,                                                                               Defendants.

                                           * * * * *

                                            ORDER

         The parties having filed an agreed order of dismissal with prejudice in GGNSC Louisville

Hillcreek, LLC v. Dockery, No. 3:15-cv-908-DJH, and in accordance with the Court’s February

13, 2018 Order (Docket No. 36), it is hereby

         ORDERED that within seven (7) days of the date of entry of this Order, the parties shall

file either an agreed order of dismissal with prejudice or a joint report advising the Court of the

status of this action.
 April 16, 2018




                                                        David J. Hale, Judge
                                                     United States District Court




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